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                 ORAL ARGUMENT NOT YET SCHEDULED
                            No. 25-1004


               IN THE UNITED STATES COURT OF APPEALS
                FOR THE DISTRICT OF COLUMBIA CIRCUIT


     UNITED STATES STEEL CORPORATION; NIPPON STEEL NORTH
          AMERICA, INC.; and NIPPON STEEL CORPORATION,

                                                    Petitioners,

                                         v.

THE COMMITTEE ON FOREIGN INVESTMENT IN THE UNITED STATES;
 JOSEPH R. BIDEN, in his official capacity as President of the United States;
 JANET L. YELLEN, in her official capacity as Secretary of the Treasury and
 Chairperson of the Committee on Foreign Investment in the United States; and
 MERRICK B. GARLAND, in his official capacity as Attorney General of the
                               United States,
                                                    Respondents.

                              On Petition For Review

             EMERGENCY UNOPPOSED MOTION TO GRANT
              EXPEDITED CONSIDERATION AND TO SET
             BRIEFING AND ORAL ARGUMENT SCHEDULE


      Petitioners United States Corporation, Nippon Steel North America, Inc., and

Nippon Steel Corporation respectfully request that the Court grant expedited

consideration and set a briefing and argument schedule.            Respondents have

authorized us to state that they agree with the proposed schedule set forth below.
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      In light of the considerations described below warranting expedited

consideration, Petitioners also request, pursuant to Circuit Rule 27(e), that the Court

expedite consideration of the present motion and resolve it by January 17, 2025.

                                  BACKGROUND
      United States Steel Corporation (U. S. Steel), Nippon Steel Corporation, and

Nippon Steel North America, Inc. (Nippon Steel), have entered into an agreement

for U. S. Steel to become a wholly owned subsidiary of Nippon Steel.              The

agreement provides for an “End Date” of June 18, 2025. Pet. for Review (PFR) 20.

On January 3, 2025, President Biden issued an executive order blocking the

transaction. See PFR Ex. C. The order, which followed CFIUS’s December 23,

2024 referral of the transaction to the President, see PFR Ex. B, relied on Section

721 of the Defense Product Act (DPA), 50 U.S.C. § 4565. The DPA provides that

“[a] civil action challenging an action or finding under this section may be brought

only in” this Court. Id. § 4565(e)(2).

      On January 6, 2025, Petitioners filed a petition for review challenging the

President’s order and CFIUS’s referral. Petitioners claim that the President’s and

CFIUS’s actions violated their rights under the Due Process Clause; that CFIUS’s

actions violated Section 721 of the DPA and the Administrative Procedure Act; and

that the President’s actions were ultra vires.




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                                   ARGUMENT

A.     Expedited Consideration Of This Case
       Petitioners respectfully request that the Court expedite briefing, argument, and

decision in this case. The Circuit Handbook directs parties moving for expedited

consideration to “demonstrate that the delay will cause irreparable injury and that

the decision under review is subject to substantial challenge.” D.C. Cir., Handbook

of Practice and Internal Procedures VIII.B.           It also notes that expedited

consideration may be warranted if “the public generally, or . . . persons not before

the Court, have an unusual interest in prompt disposition.” Id. This case satisfies

all three criteria.

       First, Petitioners argue that prompt consideration of this case is needed to

avoid irreparable harm. The merger agreement contains a June 18, 2025 deadline

for obtaining regulatory approvals and completing the merger. Petitioners contend

that failure to meet this deadline could permanently impair Petitioners’ ability to

consummate the merger. See In re NTE Conn., LLC, 26 F.4th 980, 990 (D.C. Cir.

2022) (“[F]inancial injury can be irreparable where no adequate compensatory or

other corrective relief will be available at a later date.” (alterations and quotations

omitted)). Further, Petitioners argue that, given this Court’s recognition that “a

prospective violation of a constitutional right constitutes irreparable injury,” Karem

v. Trump, 960 F.3d 656, 667 (D.C. Cir. 2020) (affirming preliminary injunction)



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(quotations omitted), the ongoing deprivation of constitutional rights alleged by

Petitioners counsels in favor of expedition.

      Second, Petitioners maintain that the order and the referral are subject to

substantial challenge for the reasons set forth in the petition for review.

      Third, Petitioners contend that the public at large has a significant interest in

the prompt disposition of this case. Petitioners argue that the merger provides much-

needed investment in U. S. Steel, securing its thousands of employees and their

families, and the communities in which U. S. Steel operates. Petitioners further

argue that the investments Nippon Steel plans to make through the merger are critical

to U. S. Steel’s continued success, and will strengthen the United States’ strategic

and national security interests.

      At this time, Petitioners believe that if the Court grants expedited

consideration and adopts a schedule similar to the one proposed below, these actions

can be resolved on the merits without the need for a request for emergency

preliminary injunctive relief. Petitioners reserve the right to move for such relief if

doing so becomes necessary to avoid irreparable harm prior to this Court’s decision

on the merits.

B.    Proposed Schedule
      To ensure that there is adequate time before the June 18, 2025 transaction

deadline to obtain regulatory approvals and complete the merger, Petitioners



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respectfully ask this Court to issue its decision on the merits of this action by May

16, 2025. To enable the Court to issue a decision by that date or sooner, Petitioners

respectfully propose the following briefing schedule, with which Respondents agree:

      ● Filing of unclassified administrative record – January 20, 2025

      ● Opening brief for Petitioners – February 3, 2025

      ● Amicus curiae briefs in support of Petitioners or in support of neither party
        – February 10, 2025

      ● Filing of classified administrative record – February 21, 2025

      ● Answering brief for Respondents – March 3, 2025

      ● Amicus curiae briefs in support of Respondents – March 10, 2025

      ● Reply brief for Petitioners – March 17, 2025

      Petitioners further respectfully request that oral argument be calendared for a

date as early as practicable in the Court’s April 2025 sitting.

      Respectfully submitted.




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Dated: January 10, 2025

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                      CERTIFICATE OF COMPLIANCE

      This motion complies with the type-volume limitation of Federal Rule of

Appellate Procedure 27(d)(2)(A) because it contains 822 words excluding the parts

of the motion exempted by Federal Rule of Appellate Procedure 27(a)(2)(B).

      This motion complies with the typeface requirements of Rule 32(a)(5) and the

type-style requirement of Rule 32(a)(6) because it was prepared in a proportionately

spaced typeface using Microsoft Word in Times New Roman 14-point type for text

and footnotes.

                                             /s/ Andrew J. Pincus
                                             Andrew J. Pincus


                         CERTIFICATE OF SERVICE
      I hereby certify that on January 10, 2025, I filed the foregoing with the Clerk

of the Court for the United States Court of Appeals for the District of Columbia

Circuit by using the CM/ECF system which will serve all counsel of record.

                                             /s/ Andrew J. Pincus
                                             Andrew J. Pincus
